Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 1 of 55




         IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF GEORGIA
                     ROME DIVISION


JACKIE ROBERTS, as co-
Administrator ofthe Estate of
Askari Jari Roberts, DELORIS CIVIL ACTION FILE NO.
ROBERTS, as Co-                4:17-CV-0053-HLM
Administrator of the Estate of
Askari Jari Roberts,
SUREROME HUNTER, as
mother and natural guardian
of Ja'Juan Hunter, a minor,
and SHAUNDRIKA ADAMS,
as mother and natural
guardian of Amiya Adams, a
minor.

     Plaintiffs,

V.


SGT. GREGORY BECK and
SGT. BRANDON ROBINSON,

     Defendants.


                               ORDER
Case 4:17-cv-00053-HLM    Document 30   Filed 12/11/17   Page 2 of 55




     This case is before the Court on Defendants' Motion for

Summary Judgment [23],

I.   Background

     A.   Factual Background

     Keeping in mind that, when deciding a motion for

summary judgment, the Court must view the evidence and all

factual inferences in the light most favorable to the party

opposing the motion, the Court provides the following

statement of facts. Strickland v. Norfolk S. Rv. Co., 692 F.3d

1151, 1154 (11th Cir. 2012).               This statement does not

represent actual findings of fact. Rich v. Sec'v, Fla. Dep't of

Corr, 716 F.3d 525, 530 (11th Cir. 2013). Instead, the Court

has provided the statement simply to place the Court's legal

analysis in the context of this particular case or controversy.

     As   required       by the    Local     Rules,      Defendants, as

movants, filed a Statement of Material Facts ("DSMF") in
                           2
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 3 of 55




support of their Motion for Summary Judgment.                      (DSMF

(Docket Entry No. 23-1).)         As also required by the Local

Rules, Plaintiffs filed a response to DSMF ("PRDSMF").

(PRDSMF (Docket Entry No. 26).)                The Court evaluates

DSMF and PRDSMF infra.

          1.    The Parties

     Plaintiffs Jackie Roberts and Deloris Roberts are the

Co-Administrators of the Estate of Askari Jari Roberts (the

"Decedent"), and they reside in Rome, Georgia.                    (Compl.

(Docket Entry No. 1) HH 3-5.) Plaintiff Jackie Roberts is the

Decedent's father, while Plaintiff Deloris Roberts is his

mother, ( j d H 6.) Plaintiff Ja'Juan Hunter is the Decedent's

minor son, and brings this action by and through his mother

and natural guardian, Plaintiff Surerome Hunter. (\± Hlf 6-7.)

Plaintiff Amiya Adams is the Decedent's minor daughter, and


                                   3
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 4 of 55




brings this action by and through her mother and natural

guardian, Plaintiff Shaundrika Adams. (idL 1I1I6, 8.)

    At all material times, Defendant Robinson was an officer

with the Floyd County Police Department (the "FCPD").

(DSMF H 1; PRDSMF H 1.) Similarly, at all material times.

Defendant Beck was an officer with the FCPD. (DSMF U 2;

PRDSMF 112.)

          2.    911 Call

     At 21:30:45 hours on March 17, 2015, Floyd County 911

received a telephone call from Ella Roberts stating that the

Decedent attempted to choke her, had attempted to hurt

Plaintiff Jackie Roberts, and was "acting a fool." (DSMF H 3;

PRDSMF H 3.) Ella Roberts further stated that the Decedent,

who she believed was "on some drugs," had to be held down

by Plaintiff Jackie Roberts to keep him from hurting others.

(DSMF H 4; PRDSMF H 4.)                Ella Roberts did not specify
                                   4
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 5 of 55




which drug she believed the Decedent had taken during her

conversation with Floyd County 911. (DSMF U 5; PRDSMF H

5.) Floyd County 911 dispatched Defendants to the incident

location and provided         Defendants with the             information

received from Ella Roberts. (DSMF ^ 6; PRDSMF H 6.)

           3.   Defendant Robinson Arrives

       At 21:50:59 hours, Defendant Robinson arrived at the

residence. (Aff. of Blalock Attach. 1 (Docket Entry No. 23-

6).)    Defendant Robinson contends that he heard yelling

coming from inside the residence, which Plaintiffs deny. (Aff.

of Brandon Robinson (Docket Entry No. 23-3) H 4; Aff. of Ella

Roberts (Docket Entry No. 26-1) H 2; Aff. of Jackie Roberts

(DocketEntry No. 26-1)113\)




     Plaintiffs filed their Exhibits in support of their Response to
Defendants' Motion for Summary Judgment in the same docket
entry as their response. (Docket Entry No. 26-1.) The Court
                                    5
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17    Page 6 of 55




    When Defendant Robinson entered the residence, he

observed Plaintiff Jackie Roberts on top of the Decedent on

the couch in the living room, struggling to hold down the

Decedent. (DSMF H 8; PRDSMF H 8.) Defendant Robinson

contends that the Decedent was kicking and attempting to

break free from Plaintiff Jackie Roberts. (Robinson Aff. H 5.)

Plaintiffs assert that, prior to Defendant Robinson's arrival.

Plaintiff Jackie Roberts was able to hold the Decedent in a

love seat by holding his wrists for approximately twenty

minutes, and the Decedent was not trying to get away and

did not have a weapon. (E. Roberts Aff. H 2; J. Roberts Aff.

nil 2-3.)    Plaintiffs point out that the Decedent weighed

approximately      150 pounds          and was           smaller than    his

fourteen-year-old son. (J. Roberts Aff. H 2.)


directs counsel to file exhibits and briefs in separate docket
entries for all future filings.
                                6
Case 4:17-cv-00053-HLM      Document 30    Filed 12/11/17    Page 7 of 55




     Defendant Robinson recalls that he walked to the couch

and grabbed the Decedent's left hand in an attempt to

handcuff him, but the Decedent struggled with him to avoid

being handcuffed. (Robinson Aff. if 6.) Plaintiffs dispute that

assertion,     contending       that      Defendant         Robinson        put    a

handcuff on the Decedent and took over from Plaintiff Jackie

Roberts, bear-hugging the Decedent. (E. Roberts Aff. If 3.)

According to Plaintiff Jackie Roberts, Defendant Robinson

came in, walked over, and put a handcuff on the Decedent's

wrist,   and    Plaintiff    Jackie       Roberts     then      released          the

Decedent.      (J. Roberts Aff. If 3.)           Plaintiff Jackie Roberts

recalls that Defendant Robinson asked the Decedent to

stand up to have his right hand cuffed, but the Decedent did

not stand up. (Jd.)

     Defendant Robinson was able to apply one handcuff on

the Decedent's left arm, but could not control the Decedent's
                              7
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 8 of 55




right arm.     (DSMF ^ 11; PRDSMF H 11.)                       Defendant

Robinson contends that he stood up and attempted to pull

the Decedent onto the floor on his stomach to gain control of

the Decedent's right arm. (Robinson Aff. ^ 6.)

    According to         Defendant     Robinson,        Plaintiff      Jackie

Roberts then released the Decedent, and the Decedent

attempted     to   run   toward    the     residence's       front      door.

(Robinson Aff. ^ 6.) Plaintiffs contend that the Decedent was

never able to break free and run. (E. Roberts Aff. H 3; J.

Roberts Aff. 114.)

     Defendant Robinson contends that he still had control of

the Decedent's left arm, that he pulled the Decedent toward

the television, and that the Decedent stumbled into the

television, causing the screen to break. (Robinson Aff. H 6.)

According to Defendant Robinson, he attempted to pull the

Decedent toward him, and the Decedent swung at him with
                           8
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 9 of 55




his right fist, striking him on the right side of his forehead and

knocking his hat and sunglasses off his head.                           (\j±)

Defendant Robinson contends that he grabbed the Decedent

around his upper torso with both arms, and he and the

Decedent both fell to the ground, landing in front of the

residence's front door.          (Jd)      According to Defendant

Robinson, while on the floor, he was able to get on top of the

Decedent, who was lying on the floor on his back trying to

fight Defendant Robinson. (Jd)           Defendant        Robinson was

able to gain control ofthe Decedent's left wrist again, and he

put all of his body weight on the Decedent in an effort to hold

him down. (DSMF H 18; PRDSMF U 18.)

     Defendant      Robinson      contends        that    the     Decedent

continued to resist arrest and to speak incoherently as

Defendant Robinson continued to try to hold him down.

(Robinson Aff. H 6.) According to Defendant Robinson, as
                            9
Case 4:17-cv-00053-HLM   Document 30     Filed 12/11/17   Page 10 of 55




he attempted to gain control of the Decedent's right arm, the

Decedent rolled against the front door and got into a seated

position. (Id.)

     Plaintiffs,   for   their   part,     contend        that    Defendant

Robinson slung the Decedent around, the Decedent's foot hit

the television, knocking out the screen, and the Decedent

and Defendant Robinson both hit the floor. (E. Roberts Aff. ^

3; J. Roberts Aff. H 3.)          According to Ella Roberts, the

Decedent was not kicking. (E. Roberts Aff. H 3.)                    Plaintiffs

assert that, although the Decedent was twisting and turning,

trying to break free, the Decedent could not break free

because Defendant Robinson had the Decedent on his

stomach with his knee in the Decedent's back. (E. Roberts

Aff. H 3.) Plaintiffs state that the Decedent put his left hand

with the cuff on it under his stomach to keep the officers from


                                   10
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 11 of 55




getting to it, and the Decedent was never able to break free

and run. (E. Roberts Aff. H 3.)

     Defendant Robinson placed all of his body weight on the

Decedent in an attempt to keep the Decedent from getting

up. (DSMF H 21; PRDSMF H 21.) According to Defendant

Robinson, Plaintiff Jackie Roberts was in the floor trying to

help him hold the Decedent on the floor. (Robinson Aff. ^ 7.)

Plaintiff Jackie Roberts, however, contends that he was

simply kneeling by the Decedent telling the Decedent to stop

resisting. (J. Roberts Aff. H 3.)

     At 21:52:05, Defendant Robinson radioed Floyd County

911 and requested that his backup "step it up." (Blalock Aff.

Attach. 1.) At 21:53:34, Defendant Robinson radioed Floyd

County 911 again and advised that he still needed backup.

(DSMF 1124; PRDSMF 1124.)


                                   11
Case 4:17-cv-00053-HLM    Document 30   Filed 12/11/17   Page 12 of 55




           4.   Defendant Beck Arrives

     At 21:54:30 hours, Defendant Beck arrived at the scene.

(DSMF H 25; PRDSMF H 25.)                  Defendants contend that

Defendant Beck observed Defendant Robinson and Plaintiff

Jackie Roberts fighting with the Decedent in a corner of the

living room. (Aff. of Greg Beck (Docket Entry No. 23-4) H 5.)

Plaintiffs contend that Plaintiff Jackie Roberts was simply

trying to talk to the Decedent.          (E. Roberts Aff. HH 4, 9; J.

Roberts Aff. H 4.)        Plaintiff Jackie Roberts recalls that the

Decedent had his left arm under his stomach and was

struggling, attempting to get up. (J. Roberts Aff. H 4.)

      According to Defendants, Defendant Beck gave the

Decedent verbal commands to stop fighting and to roll on his

stomach, but the Decedent refused and continued to resist.

(Beck Aff. U 5.)         Plaintiffs, however, recall that Defendant

Robinson told Defendant Beck, "you are gonna have to tase
                           12
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17    Page 13 of 55




him." (E. Roberts Aff. H 4; J. Roberts Aff. U 4.) The audio

recordings do not reflect this statement.               Plaintiffs contend

that   Defendant     Beck     immediately       began       to   tase    the

Decedent.     (E. Roberts Aff. H 5; J. Roberts Aff. H 4.)                The

audio recordings         reflect that Defendant           Beck told the

Decedent, "get on your stomach or I'm going to tase you."

(Recording at 21:55:08.)

       Defendant Beck contends that he removed the cartridge

from his Taser and drive-stunned the Decedent in his left

shoulder, and the Decedent went to the floor. (Beck Decl. H

5.)    According to Defendant Beck, the Decedent showed

superhuman strength and was speaking incoherently. (Id H

5.)

       According to Defendants, the Decedent continued to be

combative, and he tried to grab Defendant Beck's Taser.

(Robinson Aff. H 8; Beck Aff. ^ 5.)            Defendant Beck drive-
                            13
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 14 of 55




stunned the Decedent with the Taser on the back near his

ribs, which was unsuccessful. (DSMF H 31; PRDSMF H 31.)

According to Defendants, they both continued giving the

Decedent verbal commands to stop resisting. (Robinson Aff.

H 8; Beck Aff. H 5.) Defendants claim that, as the Decedent

continued to fight and resist arrest. Defendant Beck drive-

stunned the Decedent with the Taser a third time in

Defendant's back.         (Robinson Aff. H 8; Beck Aff. H 5.)

According to Defendants, when Defendant Beck activated

his Taser, the Decedent reached back and grabbed the

Taser.     (Robinson Aff. H 8; Beck Aff. H 5.)                 Defendants

contend that, when the Decedent reached back. Defendant

Robinson grabbed the Decedent's right arm and placed the

handcuff on his right wrist. (Robinson Aff. H 8; Beck Aff. H 5.)

      According to Defendants, Defendant Robinson then

advised Defendant Beck, "I got it," and Defendant Beck
                          14
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 15 of 55




stopped using his Taser. (Robinson Aff. H 8; Beck Aff. US.)

Defendant Robinson never deployed his own Taser during

the incident.     (DSMF H 39; PRDSMF ^ 39.)                   Defendants

claim that they used no force against the Decedent other

than Defendant Beck's Taser and soft hand techniques.

(Robinson Aff. T112; Beck Aff. H 9.)

      Defendants contend that, at 21:56:03, Defendant Beck

advised Floyd County 911 that the arrest had been made.

(Blalock Aff. Attach. 1.)          According to Defendants, the

Decedent continued to kick and mumble incoherently after

being handcuffed.          (Robinson Aff. H 9.)             According to

Defendant Beck, the Decedent was facedown and continued

to struggle, including opening his mouth and trying to bite

Defendant Robinson. (Beck Aff. H 6.)              Defendant Beck also

recalls that he put his boot on the Decedent's head for two to

three seconds to prevent that attack, and, although the
                          15
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 16 of 55




Decedent complied, he began to twist and kick again.

Defendants claim that, based on the Decedent's actions.

Defendant      Beck      restrained    the    Decedent's        feet      and

Defendant Robinson placed his hands on the Decedent's

back and shoulders. (Robinson Aff. ^ 9; Beck Aff. H 6.)

     At 21:59:47, Defendant Beck radioed Floyd County 911

and requested that medical personnel respond to the

incident location to have the Decedent examined.                   (Blalock

Aff. Attac. 1.)     According to Defendants, Defendant Beck

informed Defendant Robinson that he would sit beside the

Decedent. (Robinson Aff. H 9.)

      Defendants contend that, as they switched positions,

the Decedent stopped moving and Defendant Beck turned

the Decedent onto his back. (Robinson Aff. H 10; Beck Aff. H

6.) Defendant Beck recalls that, when he placed his hands

on the Decedent, the Decedent felt limp. (Beck Aff.                     6-7.)
                           16
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 17 of 55




     According to Defendants, they tried to talk to the

Decedent. (Robinson Aff. H 10.) Defendants contend that

Defendant Robinson radioed Floyd County 911 at 22:03:02

hours, advising that the Decedent was unconscious and

requesting that the ambulance respond in emergency mode.

(Robinson Aff. H 10; Blalock Aff. Attach. 1.)

     Plaintiffs contend that the Decedent                  never        fought

Defendants, never tried to bite anyone, and never tried to

grab the Taser. (E. Roberts Aff.            3, 6, 9-11; J. Roberts Aff.

Tf 4.)   According to Plaintiffs, Defendant Beck tased the

Decedent several times in an attempt to get the Decedent to

move his left arm from under his stomach, but the Decedent

refused to move his left arm. (E. Roberts Aff. Iffl 5, 9-10; J.

Roberts Aff. H 4.) According to Plaintiffs, the Decedent was

trying to prevent the officers from grabbing his left arm, and

he was squirming in an attempt to break free, but he never
                           17
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 18 of 55




broke free. (E. Roberts Aff. HU 10-11; J. Roberts Aff. H 4.)

Plaintiffs contend that Defendant Beck tased the Decedent

until he lost consciousness.           (E. Roberts Aff. TIH 6, 12; J.

Roberts Aff. U 4.)       Plaintiffs claim that, after the Decedent

lost consciousness. Defendant Robinson rolled the Decedent

over and cuffed his right hand.            (E. Roberts Aff. H 13; J.

Roberts Aff. H 4.) Plaintiffs further contend that the Decedent

never regained consciousness. (E. Roberts Aff.                     13-14; J.

Roberts Aff. TI5.f



^    To the extent that Defendants have presented certain
materials, including audio recordings of interviews by the
Georgia Bureau of Investigation ("GBI") to contrast statements in
the affidavits presented by Plaintiffs, the Court has not
considered those materials for that purpose. Defendants are
essentially asking the Court to weigh evidence or make
credibility determinations, which the Court simply cannot do at
the summary judgment stage. See Feliciano v. City of Miami
Beach. 707 F.3d 1244, 1252 (11th Cir. 2013) ("Even if a district
court 'believes that the evidence presented by one side is of
doubtful veracity, it is not proper to grant summary judgment on
the basis of credibility choices.'" (quoting Miller v. Harget, 458
                                 18
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 19 of 55




     While waiting       for   the     ambulance        to   arrive,    both

Defendants continuously performed CPR on the Decedent.

(DSMF H 50; PRDSMF H 50.)                At 22:08:06 hours, FCPD

Officer Chad Matthews arrived.            (DSMF ^ 51; PRDSMF H

51.) Officer Matthews retrieved an AED from his patrol unit

and applied it to the Decedent. (DSMF H 52; PRDSMF H 52.)

The AED was applied to the Decedent four times, and, each

time it advised no shock and the officers continued CPR.

(DSMF H 53; PRDSMF H 53.)               Between each cycle of the

AED,    the officers      continued     to perform           CPR   on the

Decedent. (DSMF H 54; PRDSMF ^ 54.)

           5.    EMS Arrives

      Redmond EMS arrived, and the medics took over

treatment of the Decedent, transporting him to Floyd Medical

F.3d 1251, 1256 (11th Cir. 2006)); Holifield v. Reno. 115 F.3d
1555, 1560 (11th Cir. 1997) ("The court may not weigh evidence
to resolve a factual dispute.").
                                 19
Case 4:17-cv-00053-HLM   Document 30     Filed 12/11/17   Page 20 of 55




Center. (DSMF H 55; PRDSMF H 55.) The Decedent died at

the hospital and was pronounced dead at 12:36 a.m. (DSMF

1156; PRDSMF 1156.)

           6.    The Autopsy

     Georgia Bureau of Investigation Deputy Chief Medical

Examiner Lora Darrisaw performed an autopsy.                       (DSMF H

57; PRDSMF H 57.) The autopsy report lists the Decedent's

cause of death as "Methamphetamine toxicity."                       (Autopsy

Report (Docket Entry No. 23-8) at 8.)                The autopsy report

lists the Decedent's manner of death as a "Homicide," and

states that other significant conditions include "[pjhysical

altercation, electrical control device deployment, coronary

atherosclerotic disease."        (Jd.)      The autopsy report also

provides, in relevant part:

     This 38-year-old black man, Askari Roberts, was
     reportedly involved in a physical altercation with his
     father and subsequently with police. He became
                              20
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 21 of 55




        unresponsive after he was "drive stunned" with an
        electrical control device (Taser) and handcuffed.
        Additional details of the circumstances surrounding
        his death are documented in the death investigator
        report.

        The autopsy discloses minor cutaneous injuries
        and coronary atherosclerosis of two of the major
        vessels that supply blood to the heart. Additionally,
        the vitreous electrolytes analysis reveals an
        indication of dehydration. Following the complete
        autopsy and ancillary studies, his death is ascribed
        to methamphetamine toxicity. The toxic effects of
        methamphetamine are independently sufficient to
        cause his sudden death. The physical altercation
        and electrical control device deployment are
        actions of others that were contemporaneous with
        his death.        These circumstances cannot be
        definitely excluded as contributory to his death
        while under the influence of methamphetamine;
        however, neither the physical altercation nor the
        utilization of the electronic control device, in and of
        themselves, independently caused his death. In
        this instance, the manner of death is certified as
         homicide.

    )




                                   21
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17       Page 22 of 55




           7.    Death Certificate

      The Decedent's death certificate lists his immediate

cause of death           as "METHAMPHETAMINE                      TOXICITY."

(Death Certificate (Docket Entry No. 23-9) at 1 (capitalization

in original).) The death certificate states that other, unrelated

significant     conditions     contributing       to        death       include

"CORONARY          ARTERY         DISEASE         .     .     .    PHYSICAL

ALTERCATION          .    .   . TASER       DEPLOYMENT."                    (Id

(alterations and capitalization in original).)

      B.   Procedural Background

      On March 14, 2017, Plaintiffs filed this lawsuit. (Compl.

(Docket Entry No. 1).)            Plaintiffs asserted a number of

claims, including: (1) a 42 U.S.C. § 1983 claim for violation of

the    Decedent's        Fourth     Amendment                rights     against

Defendants Robinson and Beck, asserted by the Decedent's

Estate (id       56-59); (2) a § 1983 claim for violation of the
                                22
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 23 of 55




Decedent's Eighth and Fourteenth Amendment rights against

Defendants Robinson and Beck, brought by the Decedent's

Estate (id HI} 64-67); (3) a Georgia wrongful death claim

brought by Plaintiffs Ja'Juan Hunter and Amiya Adams (id

   68-75); and (4) a survival action brought under Georgia

law by the Decedent's Estate (id            76-79).^

     On October 31, 2017, Defendants filed their Motion for

Summary Judgment. (Mot. Summ. J. (Docket Entry No. 23).)



^    Plaintiffs also asserted claims against Floyd County,
Georgia, and against Defendants in their official capacities. On
June 13, 2017, the Court granted a Motion to Dismiss filed by
Floyd County and dismissed the claims against Defendant Floyd
County. (Order of June 13, 2017 (Docket Entry No. 20).)
Because Plaintiffs' claims against Defendants in their official
capacities are the functional equivalent of claims against
Defendant Floyd County, those claims fail for the same reasons
as set forth in the June 13, 2017, Order. See Guarda v. City of
Melbourne. Fla.. Case No. 6:17-CV-756-Orl-37TBS, 2017 WL
3034071, at *2 (M.D. Fla. July 18, 2017) ("[A] suit against a
governmental officer in his official capacity is the functional
equivalent of one against the entity of which the officer is an
agent." (internal quotation marks and citation omitted)).
                                23
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 24 of 55




The briefing process for that Motion is complete, and the

Court finds that the matter is ripe for resolution.

II.   Summary Judgment Standard

      Federal Rule of Civil Procedure 56(a) allows a court to

grant summary judgment when "there is no genuine dispute

as to any material fact and the movant is entitled to a

judgment as a matter of law."           Fed. R. Civ. P. 56(a). The

party seeking summary judgment bears the initial burden of

showing the Court that summary judgment is appropriate and

may satisfy this burden by pointing to materials in the record.

Jones V. UPS Ground Freight, 683 F.3d 1283, 1292 (11th

Cir. 2012). Once the moving party has supported its motion

adequately, the burden shifts to the non-movant to rebut that

showing by coming forward with specific evidence that

demonstrates the existence of a genuine issue for trial. Jd.


                                   24
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 25 of 55




     When evaluating a motion for summary judgment, the

Court must view the evidence and draw all reasonable

factual inferences in the light most favorable to the party

opposing the motion. Morton v. Kirkwood, 707 F.3d 1276,

1280 (11th Cir. 2013); Strickland, 692 F.3d at 1154.                      The

Court also must '"resolve all reasonable doubts about the

facts in favor of the non-movant.'" Morton, 707 F.3d at 1280

(internal quotation marks and citations omitted). Further, the

Court    may    not      make   credibility     determinations,          weigh

conflicting evidence to resolve disputed factual issues, or

assess the quality of the evidence presented.                    Strickland,

692 F.3d at 1154. Finally, the Court does not make factual

determinations. Rich, 716 F.3d at 530.




                                       25
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 26 of 55




III.   Discussion

       A.   § 1983 Claims

            1.   Fourteenth and Eighth Amendment Claims

       Plaintiffs did not respond to Defendants' arguments

concerning Plaintiffs' Fourteenth and Eighth Amendment

claims.      The Court therefore          concludes that          Plaintiffs

abandoned those claims. See Holland v. Dep't of Health &

Human Servs., 51 F. Supp. 3d 1357, 1376 (N.D. Ga. Sept.

30, 2014) (finding that a plaintiff abandoned a claim by failing

to respond to the defendant's arguments concerning that

claim on summary judgment). Alternatively, those claims fail

for the same reasons as set forth in the Court's Order

granting Floyd County's Motion to Dismiss. (Order of June

13, 2017, at 27-31.) The Court therefore grants Defendants'

Motion for Summary Judgment as to Plaintiffs' Fourteenth

and Eighth Amendment claims.
                          26
Case 4:17-cv-00053-HLM    Document 30    Filed 12/11/17    Page 27 of 55




           2.    Fourth Amendment Claim

     Defendants          argue   that     Plaintiffs      cannot     establish

causation for their         §    1983     Fourth Amendment                 claim.

Alternatively, Defendants contend that qualified immunity

protects them with respect to Plaintiffs' § 1983 Fourth

Amendment        excessive       force     claim.         The      Court     first

addresses causation, and then discusses qualified immunity,

                 a.      Causation

     Defendants argue that any use of force was not the

proximate cause of the Decedent's death. Plaintiffs did not

squarely respond to this argument in their response to the

Motion for Summary Judgment, and they therefore have

abandoned any challenge to it.                    The Court therefore

concludes that Plaintiffs abandoned those claims. Holland,

51 F. Supp. 3d at 1376.                 Alternatively, for the reasons


                                    27
Case 4:17-cv-00053-HLM   Document 30        Filed 12/11/17   Page 28 of 55




discussed below, the Court agrees that Plaintiffs failed to

create a genuine dispute as to causation.

     "Although § 1983 addresses only constitutional torts, §

1983     defendants      are,   as     in     common         law    tort     suits,

responsible for the natural and foreseeable consequences of

their actions." Jackson v. Sauls. 206 F.3d 1156, 1168 (11th

Cir. 2000).     "For damages to be proximately caused by a

constitutional tort, a plaintiff must show that, except for that

constitutional tort, such injuries and damages would not have

occurred and further that such injuries and damages were

the reasonably foreseeable consequences of the tortious

acts or omissions in issue."                Jd (footnote omitted). The

Eleventh Circuit has explained:

       Under traditional tort principles, causation has two
       required elements: cause-in-fact and legal or
       proximate cause. A plaintiff must first show that the
       constitutional tort was a cause-in-fact of the injuries
       and damages claimed. To establish cause-in-fact,
                                 28
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 29 of 55




     the plaintiff must show that except for the
     constitutional tort, such injuries and damages
     would not have occurred. Secondly, a plaintiff must
     show that the constitutional tort was the legal or
     proximate cause of the injuries and damages
     claimed. An act or omission is a legal or proximate
     cause of a plaintiff's injuries or damages if it
     appears from the evidence that the injury or
     damage       was     a   reasonably     foreseeable
     consequence of the act or omission.

J d a t 1168 n.16 (citations omitted).

     Here, Plaintiffs have failed to create a genuine dispute

as to whether the use of force, particularly the Taser, caused

the Decedent's death.            Plaintiffs argue that a genuine

dispute remains as to this issue because the autopsy report

listed the Decedent's manner of death as a homicide.

Admittedly, the autopsy report listed the Decedent's manner

of death as a homicide. (Autopsy Report at 8.) The autopsy

report, however, listed the Decedent's ultimate cause of

death as "Methamphetamine toxicity." (Id, at 8.) The Death
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 30 of 55




Certificate also listed the Decedent's immediate cause of

death    as   "METHAMPHETAMINE                 TOXICITY."           (Death

Certificate at 1 (capitalization in original).)              Further, the

autopsy report provided, in relevant part:

     This 38-year-old black man, Askari Roberts, was
     reportedly involved in a physical altercation with his
     father and subsequently with police. He became
     unresponsive after he was "drive stunned" with an
     electrical control device (Taser) and handcuffed.
     Additional details of the circumstances surrounding
     his death are documented in the death investigator
     report.

     The autopsy discloses minor cutaneous injuries
     and coronary atherosclerosis of two of the major
     vessels that supply blood to the heart. Additionally,
     the vitreous electrolytes analysis reveals an
     indication of dehydration. Following the complete
     autopsy and ancillary studies, his death is ascribed
     to methamphetamine toxicity. The toxic effects of
     methamphetamine are independently sufficient to
     cause his sudden death. The physical altercation
     and electrical control device deployment are
     actions of others that were contemporaneous with
     his death.      These circumstances cannot be
     definitely excluded as contributory to his death
     while under the influence of methamphetamine;
                              30
Case 4:17-cv-00053-HLM    Document 30   Filed 12/11/17   Page 31 of 55




     however, neither the physical altercation nor the
     utilization of the electronic control device, in and of
     themselves, independently caused his death. In
     this instance, the manner of death is certified as
     homicide.

(Autopsy Report at 8.)          The autopsy report certainly does

not support Plaintiffs' contention that the use of the Taser

caused the Decedent's death.             Instead, the autopsy report

concluded      that      the   Decedent's       death      resulted      from

methamphetamine toxicity, and that neither the physical

altercation with Defendants nor the use of the Taser, in and

of themselves, independently caused the Decedent's death.

Plaintiffs fail to point to any other evidence to show that the

use of the Taser proximately caused the Decedent's death.

Under those circumstances. Plaintiffs have produced nothing

other than speculation to support their contention that the

use of the Taser caused the Decedent's death, and this

claim cannot survive summary judgment.                   See Cordoba v.
                          31
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 32 of 55




Dillard's.   Inc., 419 F.3d       1169, 1181 (11th Cir. 2005)

("Speculation does not create a genuine issue of fact."

(emphasis in original) (internal quotation marks and citation

omitted)); Marshall v. City of Cape Coral, Fla., 797 F.2d

1555, 1559 (11th Cir. 1986) ("All reasonable inferences

arising from the evidence must be resolved in favor of the

non-movant, but inferences based upon speculation are not

reasonable."); see also Corzine v. Little League Baseball

Inc., 589 F. App'x 482, 483 (11th Cir. 2014) (per curiam)

("The non-movant may not avoid summary judgment with

speculation, conjecture, or simply by relying on her unsworn

pleadings or presenting a mere scintilla of evidence in

support of her claims. Rather, she must present evidence on

the basis of which a jury reasonably could find in her favor."

(citations omitted)).


                                   32
Case 4:17-cv-00053-HLM        Document 30   Filed 12/11/17   Page 33 of 55




                 b.      Qualified Immunity

     Alternatively, Defendants assert the defense of qualified

immunity.    The Court first sets forth the general standards

governing     qualified         immunity,     and     then     applies       those

standards to this case.

                         i.      Qualified Immunity: In General

     Qualified        immunity        protects       government          officials

performing discretionary functions from suits for damages

brought against them in their individual capacities. Morris v.

Town of Lexington. Ala.. 748 F.3d 1316, 1321 (11th Cir.

2014).    The Eleventh Circuit applies a two-part analysis to

determine whether a defendant is entitled to qualified

immunity. Jd at 1322.

     Under the qualified immunity analysis used in this

Circuit, the defendant first must prove that the allegedly

unconstitutional conduct occurred while the defendant official
                             33
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 34 of 55




was acting within the scope of the official's discretionary

authority. Penlev v. Eslinger. 605 F.3d 843, 849 (11th Cir.

2010). To determine whether the defendant acted within her

discretionary     authority,   the     Court     asks     "whether      the

[defendant] was (a) performing a legitimate job-related

function (that is, pursuing a job-related goal), (b) through

means that were within [the defendant's] power to utilize."

Holloman ex rel. Holloman v. Harland. 370 F.3d 1252, 1265

(11th Cir. 2004).^

      Once a defendant shows that he or she acted within his

or her discretionary authority, the burden shifts to the plaintiff

      In making this determination, the Court does not inquire
"whether it was within the defendant's authority to commit the
allegedly illegal act." Holloman ex rel Holloman. 370 F.3d at
1266 (internal quotation marks omitted). Instead, the Court must
"look to the general nature of the defendant's action, temporarily
putting aside the fact that it may have been committed for an
unconstitutional purpose, in an unconstitutional manner, to an
unconstitutional extent, or under constitutionally inappropriate
circumstances." Id.
                                     34
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 35 of 55




to demonstrate that (1) the defendant's conduct violated the

plaintiff's constitutional rights and (2) that the constitutional

rights violated were "clearly established when the defendant

committed the act complained of." Morris, 748 F.3d at 1322

(internal quotation marks and citation omitted); see also

Penlev, 605 F.3d at 849 ("Once the defendant establishes

that he was acting within his discretionary authority, the

burden shifts to the plaintiff to show that qualified immunity is

not appropriate." (internal quotation marks and citation

omitted)).    The qualified immunity inquiry can begin with

either prong. Morris, 748 F.3d at 1322. If the plaintiff fails to

make either of those showings, however, then the defendant

is entitled to qualified immunity.          Keating v. Citv of Miami,

598 F.3d 753, 762 (11th Cir. 2010); see also Smith ex rel.

Smith V. Siegelman, 322 F.3d 1290, 1298 (11th Cir. 2003)


                                   35
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 36 of 55




(finding that defendants were entitled to qualified immunity

based on plaintiff's failure to allege constitutional violation).

     "The relevant, dispositive inquiry in determining whether

a right is clearly established is whether it would be clear to a

reasonable [individual in the defendant's position] that his

conduct was unlawful in the situation he confronted." Morris,

748 F.3d at 1322 (emphasis in original) (internal quotation

marks and citation omitted). Although a plaintiff "need not

demonstrate that there is case-law specifically addressing

his factual scenario, existing precedent must have placed the

statutory or constitutional question beyond debate."                     jd

(internal quotation marks and citation omitted).                 A plaintiff

may demonstrate that a right is clearly established by

proceeding in one of three ways:

      First, [the plaintiff] may show that "a materially
      similar case has already been decided." Second,
      [the plaintiff] can point to a "broader, clearly
                                36
Case 4:17-cv-00053-HLM    Document 30    Filed 12/11/17   Page 37 of 55




     established principle [that] should control the novel
     facts [of the] situation."     Finally, the conduct
     involved in the case may "so obviously violate[]
     th[e] constitution    that prior case         law is
     unnecessary." Under controlling law, [the plaintiff]
     must carry [his] burden by looking to the law as
     interpreted at the time by the United States
     Supreme Court, the Eleventh Circuit, or the
      ^Georgia] Supreme Court.


I d (some alterations in original) (quoting Terrell v. Smith, 668

F.3d 1244, 1255 (11th Cir. 2012)).

                 ii.     Appiication to this Case

     Here, the Parties agree that Defendants acted within

their discretionary authority during the events that gave rise

to this lawsuit. (Pis.' Resp. Mot. Summ. J. (Docket Entry No.

26-1) at 9.) The Court next determines whether Defendants

violated clearly established law.

     "The Fourth Amendment's freedom from unreasonable

searches and seizures also encompasses the right to be free

                                    37
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 38 of 55




from the use of excessive force in the course of an

investigatory stop, or other 'seizure' ofthe person." Kesinqer

ex rel. Estate of Kesinqer v. Herrington, 381 F.3d 1243, 1248

(11th Cir. 2004) (citation omitted).                 When      determining

whether the force used to effect a seizure is reasonable for

purposes of the Fourth Amendment, a court must carefully

balance '"the nature and quality of the intrusion on the

individual's    Fourth     Amendment            interests'     against        the

countervailing governmental interests at stake." Graham v,

Cinnir, 490 U.S. 386, 396 (1989) (quoting Tennessee v.

Garner, 471 U.S. 1, 8 (1985)). In conducting this analysis, a

court should determine "whether the officer's actions are

'objectively     reasonable'      in        light   of   the    facts         and

circumstances       confronting        him, without          regard      to   his

 underlying intent or motivation." Kesinger, 381 F.3d at 1248


                                       38
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 39 of 55




(quoting Graham, 490 U.S. at 397).^                The court must ask

whether a reasonable officer would believe that the level of

force used was necessary to resolve the situation at hand.

I d at 1248 n.3. In making that determination, the court must

pay "careful attention to the facts and circumstances of each

particular case, including the severity of the crime at issue,

whether the suspect poses an immediate threat to the safety

of the officers or others, and whether he is actively resisting

arrest or attempting to evade arrest by flight." Graham, 490

U.S. at 396.

     The Supreme Court has observed:

     The "reasonableness" of a particular use of force
     must be judged from the perspective of a
     reasonable officer on the scene, rather than with


^     Consequently, any alleged subjective beliefs or subjective
intent on Defendants' part is irrelevant to the Fourth Amendment
analysis. Jean-Baptiste v. Gutierrez, 627 F.3d 816, 822 (11th
Cir. 2010).

                                   39
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 40 of 55




     the 20/20 vision of hindsight.          The Fourth
     Amendment is not violated by an arrest based on
     probable cause, even though the wrong person is
     arrested, nor by the mistaken execution of a valid
     search warrant on the wrong premises.           With
     respect to a claim of excessive force, the same
     standard of reasonableness at the moment applies:
     "Not every push or shove, even if it may later seem
     unnecessary in the peace of a judge's chambers,"
     violates the Fourth Amendment. The calculus of
     reasonableness must embody allowance for the
     fact that police officers are often forced to make
     split-second judgments~in circumstances that are
     tense, uncertain, and rapidly evolving-about the
     amount of force that is necessary in a particular
     situation.

     As in other Fourth Amendment contexts, however,
     the "reasonableness" inquiry in an excessive force
     case is an objective one: the question is whether
     the officers' actions are "objectively reasonable" in
     light of the facts and circumstances confronting
     them, without regard to their underlying intent or
     motivation. An officer's evil intentions will not make
     a Fourth Amendment violation out of an objectively
     reasonable use of force; nor will an officer's good
     intentions make an objectively unreasonable use of
     force constitutional.




                                   40
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 41 of 55




Graham. 490 U.S. at 396-97 (citations omitted).                         The

Supreme Court has cautioned that "Garner did not establish

a magical on/off switch that triggers rigid preconditions

whenever an officer's actions constitute 'deadly force.'" Scott

V. Harris. 550 U.S. 372, 382 (2007).

     Admittedly, repeatedly tasing an individual who poses

no danger, who is complying with instructions, and who is not

resisting arrest or who is already in handcuffs constitutes

excessive force. See Wate v. Kubler. 839 F.3d 1012, 1022

(11th Cir. 2016) ("[A] reasonable officer in Kubler's position

would have had fair warning that repeatedly tasing Barnes

after he was handcuffed and had ceased struggling and

resisting was unreasonable under the Fourth Amendment.");

Fils V. Citv of Aventura. 647 F.3d 1272, 1292 (11th Cir. 2011)

(concluding that officers violated clearly established law by

tasering an individual who "showed no hostility to the
                          41
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 42 of 55




Defendants, did not disobey any orders, and did not make

any menacing gestures"); Oliver v. Fiorino. 586 F.3d 898,

909 (11 th Cir. 2009) ("Tasering the plaintiff at least eight and

as many as eleven or twelve times over a two-minute span

without attempting        to arrest or otherwise              subdue      the

plaintiff—including tasering Oliver while he was writhing in

pain on the hot pavement and after he had gone limp and

immobilized—was            so      plainly        unnecessary            and

disproportionate that no reasonable                 officer could        have

thought that this amount of force was legal under the

circumstances.").        Here, however,           the evidence,          even

according to Plaintiffs, indicates that the Decedent refused to

comply with Defendants' commands to give them his non-

cuffed arm and that he was squirming in an attempt to break

free when Defendant Beck tased him in drive-stun mode. (E.

Roberts Aff.     Iffl 10-11; J. Roberts Aff. T[ 4.)                Although
                                   42
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 43 of 55




Plaintiffs claim that Defendant Beck tased the Decedent until

he was unconscious, they fail to show that the tasing

continued after the Decedent was unconscious or had

stopped resisting.        Under those circumstances, the Court

cannot find that the use of the Taser in drive-stun mode

against the Decedent constituted excessive force.                        See

Moblev V. Palm Beach Ctv. Sheriff Dep't. 783 F.3d 1347,

1355 (11th Cir. 2015) (observing that, where the suspect

refused "to surrender his hands to be cuffed despite the

application of escalating force and repeated use of a taser. .

., striking, kicking, and tasing the resisting and presumably

dangerous      suspect     in   order     to   arrest     him were       not

unreasonable       uses    of force and did              not violate     [the

suspect's] constitutional rights"); Hovt v. Cooks. 672 F.3d

972, 979-80 (11th Cir. 2012) (concluding that officers' use of

a Taser in the drive-stun mode against an arrestee who
                           43
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 44 of 55




resisted during the entire time that the officers attempted to

handcuff him did not violate clearly established law); see also

Smith V. LePaqe, 834 F.3d 1285, 1295 (11th Cir. 2016)

(concluding that the single use of a taser on a noncompliant

suspect was not unreasonable, even if the suspect was not

armed, and noting, "our precedent does not necessarily

require that a noncompliant suspect be armed to justify the

use of a nonlethal taser").

     Alternatively, even if the use of a Taser under the facts

of this case constituted excessive force. Defendants did not

violate clearly established law.          All of the cases cited by

Plaintiffs involved the use of Tasers against suspects who

were not resisting, were already cuffed, or were compliant. It

is clearly established in this Circuit that tasing an individual

who poses no danger, who is complying with instructions,

and who is not resisting arrest or who is already in handcuffs
                              44
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 45 of 55




constitutes excessive force.           See Wate. 839 F.3d at 1022

("[A] reasonable officer in Kubler's position would have had

fair warning that repeatedly tasing Barnes after he was

handcuffed and had ceased struggling and resisting was

unreasonable under the Fourth Amendment."); Fils, 647 F.3d

at 1292 (concluding that officers violated clearly established

law by tasing an individual who "showed no hostility to the

Defendants, did not disobey any orders, and did not make

any menacing gestures"); Oliver. 586 F.3d at 908 ("Tasering

the plaintiff at least eight and as many as eleven or twelve

times over a two-minute span without attempting to arrest or

otherwise subdue the plaintiff—including tasering Oliver

while he was writhing in pain on the hot pavement and after

he   had    gone     limp   and    immobilized—was              so       plainly

unnecessary and disproportionate that no reasonable officer

could have thought that this amount offeree was legal under
                             45
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 46 of 55




the circumstances.").       In contrast, Plaintiffs' own evidence

indicates that the Decedent refused to give his hand to

officers to be cuffed and that the Decedent was squirming in

an attempt to get away from Defendants.                     Under those

circumstances, using a Taser against the Decedent did not

violate clearly established law. See Moblev, 783 F.3d at

1355 (stating that, where the suspect refused "to surrender

his hands to be cuffed despite the application of escalating

force and repeated use of a taser . . ., striking, kicking, and

tasing the resisting and presumably dangerous suspect in

order to arrest him were not unreasonable uses of force and

did not violate [the suspect's] constitutional rights"); Hoyt.

672 F.3d at 979-80 (finding that officers' use of a Taser in

the drive-stun mode against an arrestee who resisted during

the entire time that the officers attempted to handcuff him did

not violate clearly established law); see also Smith, 834 F.3d
                               46
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 47 of 55




at 1295      (holding that the single use of a taser on a

noncompliant suspect was not unreasonable, even if the

suspect was not armed, and stasting, "our precedent does

not necessarily require that a noncompliant suspect be

armed to justify the use of a nonlethal taser").

     This case is also distinguishable from other cases in

which the Eleventh Circuit has found the use of a Taser to be

excessive force because Defendant Beck used his Taser in

drive-stun, or dry-stun, mode, rather than in probe mode.

The drive-stun mode of Taser use is "a much less serious

application which . . . does not override the central nervous

system and does not disrupt muscle control. Rather, the dry

stun mode results only in pain, a burning sensation." Hoyt,

672 F.3d at 980."^         Plaintiffs fail to point to any clearly


^     A judge from the United States District Court for the Middle
District of Alabama explained:
                               47
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 48 of 55




     A Taser has three main modes of deployment: probe,
     drive-stun, and three-point. In each mode, some part
     of a person's body is used to complete an electric
     circuit. The sensations and consequences of the
     weapon vary depending on how the circuit is
     completed.

     Probe mode is what many people envision when they
     think of use of a Taser. In probe mode, two electrically
     charged probes are shot into a person's body, so that
     an electric current runs through the entire body. This
     causes neuromuscular incapacitation. In other words,
     the person loses control over her own body because
     her muscles and nerves are entirely occupied with
     completing the circuit. If an individual is struggling with
     the police or otherwise presents a danger, the
     neuromuscular incapacitation can create a window in
     which the individual will stop resisting and can be
     secured. Probe mode also causes intense [pain], felt
     throughout the body.

     Drive-stun mode is the mode which was used on
     Andrews. In drive-stun mode, the probes are taken off
     the Taser so only fixed electrodes remain. The
     electrodes are able to complete a circuit through the
     air, showing an arc of lightning-like electricity. When
     touched to a person's body, the circuit is completed
     through the top layer of skin and fat, leading to an
     extremely painful burning sensation. . . . In drive-stun
     mode, a Taser is a pain compliance tool with limited
     threat reduction. In other words, because it does not
                               48
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 49 of 55




established law holding that the use of a Taser in a drive-

stun mode, under the circumstances present in this case,

constitutes excessive force, and the Court's own research

has not uncovered such authority. See Andrews, 2015 WL

5735652, at *6 ("[T]here is no reported Eleventh Circuit case

which considered the use of a Taser in only drive-stun mode.

All of the cases involved probe mode, a significantly more

intrusive and painful experience.           Drive-stun mode causes

pain to a subject, but it generally leaves little lasting damage



     incapacitate an individual, it will not be as effective at
     ending a struggle, but it can cause an individual to
     comply with police orders by causing pain. . . .

     Finally, three-point mode is the name for when an
     officer uses a Taser in both probe mode and drive-stun
     mode at the same time, incapacitating a person and
     causing her extra pain.

Andrews v. Williams, Civil Action No. 2:13CV136-MHT, 2015 WL
5735652, at *2 (M.D. Ala. Sept. 30, 2015) (internal quotation
marks and citations omitted).
                                49
Case 4:17-cv-00053-HLM    Document 30    Filed 12/11/17    Page 50 of 55




beyond a burn mark. In this way, it is a less serious use of

force than the Taser use discussed in the case law, whether

constitutionally reasonable or excessive."). The Court simply

cannot find that Defendants' use of a Taser in drive-stun

mode      violated       clearly   established            law    under      the

circumstances of this case.             Qualified immunity therefore

protects Defendants with respect to Plaintiffs' §                          1983

excessive force claim.

     In sum, the Court finds that Defendants did not use

excessive force against the Decedent.                     Alternatively, the

Court concludes that Defendants' actions did not violate

clearly established law, and that Defendants are entitled for

qualified immunity for this claim.




                                    50
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 51 of 55




     B.    State Law Claims

           1.    Official Immunity

     Defendants argue that they are entitled to official

immunity with respect to Plaintiffs' state law claims.                  The

Georgia Constitution provides, in relevant part, that State

officers and employees "may be liable for injuries and

damages if they act with actual malice or with actual intent to

cause injury in the performance of their official functions."

Ga. Const Art I, § II, H IX(d). Thus, "'[a] suit against a public

officer acting in his or her official capacity will be barred by

official immunity unless the public officer (1) negligently

performed a ministerial duty, or (2) acted with actual malice

or an actual intent to cause injury while performing a

discretionary duty.'" Tant v. Purdue, 278 Ga. App. 666, 668,

629 S.E.2d 551, 553 (2006) (quoting Wanless v. Tatum, 244

Ga. App. 882, 882, 536 S.E.2d 308, 309 (2000)). Plaintiffs
                           51
Case 4:17-cv-00053-HLM   Document 30   Filed 12/11/17   Page 52 of 55




concede that Defendants were performing                     discretionary

duties.   Thus, whether Defendants are entitled to official

immunity turns on whether they acted with actual malice or

an actual intent to cause injury.

     "In the context of official immunity, 'actual malice' means

a deliberate intent to do wrong." Reed v. DeKalb Cty., 264

Ga. App. 83, 86, 589 S.E.2d 584, 588 (2003) (citing Merrow

V. Hawkins. 266 Ga. 390, 392, 467 S.E.2d 336, 338 (1996)).

Proof of ill will, standing alone, is insufficient to establish

actual malice. Adams v. Hazelwood. 271 Ga. 414, 415, 520

S.E.2d 896, 898 (1999). Instead, "in the context of qualified

immunity, actual malice means a deliberate intention to do a

wrongful act." IcL "Such act may be accomplished with or

without ill will and whether or not injury was intended." Jd.

     Plaintiffs agree that Defendants' acts were discretionary.

(Resp. Mot. Summ. J. at 18-19.) No evidence indicates that
                           52
Case 4:17-cv-00053-HLM    Document 30      Filed 12/11/17   Page 53 of 55




Defendants acted with malice or ill will toward the Decedent.

Further, no reasonable jury could conclude that Defendants

used force against the Decedent with the deliberate intent to

do wrong.       The Taser was employed during a struggle to

arrest the Decedent, who admittedly refused to allow his

arms to be handcuffed and squirmed, attempting to get

away. Under those circumstances. Defendants are entitled

to official immunity with respect to Plaintiffs' state law claims.

See Hovt. 672 F.3d at 981 ("In this case, no reasonable jury

could find that Cooks and Harkleroad used their Tasers with

the deliberate intent to do wrong. As discussed above, the

Tasers were employed during a struggle to arrest Allen, who

refused    to    let     his   arms        be    brought      together      and

handcuffed.").




                                      53
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 54 of 55




           2.    Wrongful Death

     Defendants argue that they cannot be held liable under

Georgia law for any negligence-based claim resulting from

the performance of discretionary acts.              Plaintiffs agree that

Defendants were performing discretionary acts. (Resp. Mot.

Summ. J. at 18-19.) Under Georgia law, Defendants "cannot

be held liable . . . for any negligence-based claim resulting

from the performance of discretionary acts." Hovt. 672 F.3d

at 981. Plaintiffs argue that this rule does not apply here

because their wrongful          death      claim     is not based on

negligence, but instead on a contention that Defendants

acted with malice and intended to cause harm. (Resp. Mot.

Summ. J. at 23.)          This argument is unavailing, as no

evidence supports Plaintiffs' claim that Defendants acted

with malice and intended to cause harm.                        The Court


                                   54
Case 4:17-cv-00053-HLM   Document 30    Filed 12/11/17   Page 55 of 55




therefore grants Defendants' Motion for Summary Judgment

as to this claim.

IV.   Conclusion

      ACCORDINGLY,          the    Court      GRANTS          Defendants'

Motion for Summary Judgment [23], and DISMISSES this

action. The Court DIRECTS the Clerk to C L O S E this case.

      IT IS SO ORDERED, this the | j day of December,

2017.




                                   55
